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R,AY§E) STATES DISTRICT COURT /D%j\

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GLoRIA oUEiRUGA and THOMAS ‘-1 / """
oUEiRUGA.

 

Plaintiffs, COMPLAINT
-against-

TI-IE CITY OF NEW YORK, PAULA SMYTH,
PAUL GAGLIO, "JOHN" MALDONADO and
"JOHN" PAGLIA, the first names being
uiiknovvn, and “JOIIN DOE" 1 through 5, the
names being fictitious and presently
unknov\m, individually and in their official
capacity as employees of the New York City _/ \(\.
Police Depalt!nelit, ' \\

Defendams_ Jury Tria| Dema'ndetli'

 

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GLORIA oUEIRUGA and THoMAs oUEIRUGA, by their accorheys;j;he :

Law Offices of Matthew Flamni, allege the following as their Complaint: nw

Nature of the Action
1. This civil rights action arises from the May 14, 2003 arrest of end
use of force against Gloria Queiruga and Thomas Queiruga. Pla_intiffs seek
declaratory relief pursuant to 28 U.S.C, §2201 and, under 42 U.S.C. §§'1983,

nnmpnns‘nfnry and punitin damages for vinlatinn r'nC their Cin'ii rights

Jurisdiction
2_ This action arises under the United States Constitution and 42
U.S.C. §1983. This Court has subject matter jurisdiction pursuant to 28 U.S.C.
§'1331 and §1343(3). Plsintiffs assert jurisdiction over the City of New York

under 28 U.S.Ci §1367. Plaintiffs request that this Court exercise pendent

 

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jurisdiction over those state law claims arising out of the same common

nucleus of operative facts as do plaintiffs‘ federal claims

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3. Under 28 U.S.C. §1391, venue is proper in the Southern District of
New York because the events giving rise to this suit occurred in that judicial
District.

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4. Plaintiff Gloria Oueiruga, resides in Sunrise, Florida, County of
Broward. She is the Wife of Thomas Oueiruga. At the time of the incident
Gloria Oueiruga Was residing in the City and State of New York, County of
Bronx.

5. Plaintiff Thornas Queiruga is a citizen of the United States,
residing in Sunrise, Florida, County of Broward. He is the husband of Gloria
Oueiruga. At the time of the incident Thomas Oueiruga Was residing in the
City and State of New York, County of Bronx.

6. Defenda_nt City of New York is a Municipal Corporation With.in
New York State. Pursua.nt to §431 of its Charter, the City of New York has
established and maintains the Depa.rtment of Police as a constituent
department or agency At all times relevant, the City of New York employed
Llie Police personnel involved in Llie incident underlying this lavvsuil..

7_ Defendant Paula Smyth (Shield Number 13379), was at all times
relevant a duly appointed and acting employee Of the New York City Police

Department assigned to the 45““ Police Precinct in Bronx, New York.

 

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8. Defendant Paul Gaglio Was at all times relevant a duly appointed
and acting employee of the New York City Police Department assigned to the
46“` Police Precinct in Bronx, New York.

9. Defendant “John" Maldonaclo was at all times relevant a duly
appointed and acting employee of the New York City Police Department
assigned to the 461“ Police Precinct in Rm'm<, NeW York.

10. Defendant “John" Paglia Was at all times relevant a duly
appointed and acting employee of the New York City Police Department
assigned either to the 45"‘ or 46"‘ Police Precinct Bronx, New York.

11. Defendants "John Doe" 1 through 5, Were at all times relevant
duly appointed and acting employees of the New York City Police Department
assigned either to the 45th or 46th Police Precinct Bronx, NeW York.

12. Defendants Smyth, Gaglio, Maldonado, Paglia and “John Doe" l
through 5 (collectively the “individual defendants") Were at all times relevant
acting under color of state law.

13. The individual defendants involved in the incident underlying this
lawsuit were, at all times relevant agents, servants and employees acting

within the scope of their employment by defendant City of New York.

Notice of Cla_im
14. On or about IvIay 23, 2003, and Wlthin ninety days after claims
arose, plaintiffs filed a Notice of Claim upon defendant City of New York, by
delivering copies thereof to the person designated by law as a person to whom
such claims may be served
15 The Notice of Claim Were in v\n'iting, sworn to by plaintiff Thnmas
Oueiruga, and contained the name and the then current post office address of

the plaintiffs

 

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16. The Notice of Claim set out the nature cf the claim, the time
When, the place Where and manner by Wh.ich the claim arose, and the
damages and injuries claimed to have been sustained by plaintiffs

17. The New York City Cornptroller's Office assigned thc case claim
number 2003?1012935.

18, The City of Now York has neglected and failed to adjust the
claims within the statutory time period

19 This action was commenced within one year and ninety days

after the happening of the event upon Which the claims are basedl

Facts Underlying
Plaintiffs’ Claims for Relief

20. On lVlay 14, 2003 at approximately 7:30 p.m. at and around 2824
Middleton Roadl Brorix, New York the individual defendants unlawfully
assaulted and arrested plaintiffs Cloria and Thornas C’..ueiru:_:;av

21. At the above-referenced time and place the plaintiffs were
accosted by two Direct TV representatives Jovanny Arias and his brother
Angel Arias, who demanded that Mr. Oueiruga return cable television boxes.

22. Mr. Oueiruga told the cable men to return at another time but
they refused to leave.

23. The two men from Direct 'I'V engaged in verbal abuse of the
Oueirugas and otherwise threatened the family. Mr. Oueiruga told the men to
leave and told them that if they did not leave he would call the police.

24. Upon information and belief, the two cable TV men telephoned
the Police and falsely reported to the police that the Mr. Oueiruga had

threatened them with a gun.

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25. Police officersr including one or more of the individual defendants
responded to the scene.

26. Answering a knock at the door, Mr. Oueiruga was grabbed by
one or more of the individual defendants, Who entered the vestibule of
plaintiffs’ building and threw Mr. Queiruga up against a wall demanding that
plaintiff ho.nd over the Wooponv

27. Mr. Oueiruga told the officers that he did not have a weapon

28 Thereupon, without consent the individual defendantsl or some of
them, proceeded upstairs and entered the family apartment and searched the
premisesl

29. One or more of the individual defendants assaulted Gloria
Queiruga hitting her arm and throwing her onto a bed. During the incident,
one or more of the individual defendants kicked Mrs. Queiruga, hit her in the
face with a police radio, and kneed her in her lower back.

30. The police officers, including one or more of the individual
defendants, continued to accuse Mrv and Mrs. Oueiruga of hiding a weapon,
though a thorough and lengthy search of premises never yielded any evidence
of a Weapon.

31. Despite that numerous police officers had thoroughly searched
the premises and found no gun or indeed any evidence of any crime, the
individual defendants handcuffed Mr. and Mrs. Queiruga and placed them
under arrest

32. The plaintiffs Were taken to a nearby Police Precinct Stationhouse

where they were photographed and fingerprinted and held over night

 

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33. The following day the plaintiffs Were, upon information and belief,
taken to the Bronx County Courtheuse where they Were kept in holding cells
for another night.

34. Thomas Oueiruga was charged with Crirninal Possession of a
Weapon Fourth Degree (P.L_ §266.01[1!). two counts of Menacing in the Second
Degree (P.L. §120_14['1]), Pe.qi§t.ing Arrest (P.T.. §2()5_30), and HaraSSmel'lt in the
Second Degree (P.L. §240.26 [l|).

35. Gloria Oueiruga Was charged with Obstructing Governmental
Adrninistration (P.L. §195.05), Resisting Arrest (P.L_ §205405), Disorderly
Conduct (P.L. §240.20 [1]), and Reckless Endangerrnent (P.L. §120.25).

36, Mr. Oueiruga plead guilty to the violation of charge of
Harassment in the Second Degree.

37. Plaintiff Gloria Oueiruga Was forced to appear on numerous
occasions in criminal court to contest the baseless charges, until on or about
February 17, 2004 the charges were adjourned in Conternplation of dismissal

38. The individual defendants despite having a reasonable
opportunity to do so, took no action to prevent or end the unlawful use of force,
detention, and prosecution of Thornas Queiruga and Gloria Oueiruga.

39. As a result of the foregoing, plaintiffs suffered mental anguish,
shock, fright, debasement, trauma and deprivation of their constitutional
rights, among other injuries

40. Plaintiff Gloria Oueiruga suffered, among other physical injuries,
injury to her lower baek, right shoulder, and right leg. The full scope and
extent of her physical injuries are at present unknown

41. Pla.iritiff Th.orrias Oueiruga suffered, among other injuries,

soreness and pain to his right arm.

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42. At all times relevant the individual defendants acted
intentionally, Willfully, moliciously, negligently, and With reckless disregard for

and deliberate indifference to plaintiffs’ rightsl

FIRST CLAIIVI FOR RELIEF FOR
VIOLATING PLAINTIFFS' RIGHT TO BE FREE FROM
UNRF}ASONABLE AND EXCESSIVE FORCE UNDER THE FOURTH AND
FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION

43. Plaintiffs repeat the allegations of paragraphs 1-42 as though fully
stated herein.

44. By the actions described above, the individual defendantsl or
SOIrle Of them, deprived the plaintiffs of their rights secured by the Constitutiorr
and laws of the United States including, but not limited to, their right to be free
from excessive and unreasonable ferce.

45. As a consequence thereof, Gloria Clueiruga and Thomas Oueir'uga

have been injured

SECOND CLAIM FOR RELIEF FOR ASSAULT
46. Plaintiffs repeat the allegations of paragraphs 1-42 as though fully
stated herein
47. By the actions described above, the plaintiffs were intentionally
placed in apprehension of imminent harmful and offensive contact
48. As a consequence thereof, Gloria Oueiruga and Thomas Oueiruga

have been injured.

THIRD CLAIM FOR RELIEF FOR BA'ITERY
49. Plaintiffs repeat the allegations of paragraphs 1-42 as though fully

stated herein.

 

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50. By the actions described above, the plaintiffs were intentionally
touched in a harmful and Offerisive inanner.
51. As a consequence thereof. Gloria Oueiruga and Thomas Oueiruga

have been injured

FOURTH CLAIM FOR RELIEF FOR
VIOLATING PLAINTIFFS‘ RIGI-IT TO BE FREE FROl\/I
UNREASONABLE SEARCHES AND SEIZURES UNDER THE FOURTH AND
FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION

52. Plaintiffs repeat the allegations of paragraphs 1-42 as though fully
stated herein.

53. By the actions described above, the individual defendants or
some of them, deprived Gloria Oueiruga of rights secured by the United States
Constitution, including, but not limited to plaintiffs right to be free and secure
in her persons and the right to be free from arrest or search, except on
probable cause or pursuant to a Warra.nt.

54. As a consequence thereof, Gloria Oueiruga has been injured

FIFTH CLAIl\/[ FOR RELIEF FOR
VIOLATING PLAINTIFFS’ RIGHT TO BE FREE FROM
UNREASONABLE SEARCHES AND SEIZURES UNDER ARTICLE
ONE SECTION TW EW Y RK TATE N TI I N

55. Plaintiffs repeat the allegations of paragraphs 1-42 as though fully
stated herein

56. By the actions described above, the individual defendants or
some of them, deprived Gloria Oueiruga of rights secured by the Constitution
of the State of New York, including, but not limited to, the right to be free and
secure in her person, and the right to be free from arrest or search except on
probable cause or pursuant to a Warrant.

57. As a consequence thereof, Gloria Oueiruga have been injured

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SI_XTH CLAIl\/l FOR RELIEF FOR FALSE IMPRISONMENT
58. Plaintiffs repeat the allegations of paragraphs 1-42 as though fully
stated herein
50. By reason of the foregoing, plaintiff Gloria Oueiruga Was confined
Without privilege or probable cause to believe a crime had been committed
Plaintiff Was aware of and did not consent to the confinement Plaintiff was
thereby falsely arrested and imprisoned

60. As a consequence thereof, Gloria Oueiruga has been injured

SEVENTH CLAIM FOR RELIEF FOR
VlUL.A'I`ION OF GLORIA OUEIRUGA‘S RIGHTS UNDER THE
SIXTH AMENDMENT TO THE UNITED STATES CONSTITUTION

61. Plaintiffs repeat the allegations of paragraphs 1-42 as though fully
stated herein.

62. By the actions described above, and by filing or allowing to be
filed false allegations with the Criminal Court of the City of New York, County
of Bronx. the individual defendants or some of them, deprived plaintiff of her
rights secured by the United States Constitution, including, but not limited to,

her right to a fair trial

63. As a consequence thereof, Gloria Queiruga has been injured

EIGHTH CAUSE OF ACTION FOR ABUSE OF PROCESS
64. Plaintiffs repeats the allegations of paragraphs 1-42. as though
fully Stated herein.
65 The individual defendants or some of them, maliciously used
criminal process for a purpose other than bringing a suspected Wrongriaer to

justice, to wit, in order to intimidate Gloria Oueiruga from asserting her rights

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against the individual defendants and in order to cover up their own
wrongdoing and avoid civil and criminal liability for their acts_

66. As a consequence thereof, Gloria Oueiruga has been injured

NINTH CLAIM FOR RELIEF' F`OR FAILURE TO INTERVENE
TO PREVENT THE VIOLATION OF PLAINTIFFS’ CIVIL RIGHTS

67. Plaintiffs repeat the allegations of paragraphs 1-42 as though fully
stated hereinl

68. The individual defendants failed to intervene to prevent or end or
truthfully report the unlawful search, assault, arrest, abuse of process and
false allegations made against the plaintiffs despite having a realistic
opportunity to do so.

69. As a consequence thereof, Gloria Queiruga and Thomas Queiruga

have been injuredl

TENTH CLAIM FOR RELIEF FOR NEGLIGENCE

70. Plaintiffs repeat the allegations of paragraphs 1-42 as though fully
stated hereinl

71. The acts complained of herein resulted from defendant City of
NeW York, through its agents servants and employees breaching its duty
properly to assign, train, supervise or discipline its law enforcement personnel,
including assigning, training, supervising or disciplining individual Police
personnel who unlawfully search, use unreasonable force, arrest or otherwise
act to deprive individuals of their constitutionally protected rights.

72. The defendant City of New York's failure properly to assign, train,
supervise or discipline its Police personnell including the Police personnel

involved herein, constitutes acquiescence in and tolerance of ongoing

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unconstitutional searches use of force, arrest, and false allegationsl Such
acquiescence created the atmosphere allowing the individual defendants to
believe that they could unlawfully make false allegations againstl search,
assault, and arrest the plaintiffs vvith impunity

73. By reason of the foregoing, the defendant City, and through its
agents servants and employees failed and refused to use such care in the
performance of its duties as a reasonably prudent employer of law enforcement
personnel would have used under similar circumstancesl

74. As a consequence thereof, Gloria Oueiruga and Thomas Oueiruga

have been injured.

Reguest for Relief
WHEREFORE, plaintiffs respectfully requests that judgment be entered
as follows:

(A) Declaratory relief as follows:
l_ A declaration that plaintiffs' right to be free from
unreasonable and excessive force under the United
States Constitution was violated;
2. A declaration that plaintiffs' right to be free from
unreasonable searches and seizures under the
United States Constitution was violated;
3. A declaration that plaintiffs' right to a fair trial under
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Constitution was violated;
(B) Compensatory damages in an amount to be fixed at trial;
(C) By reason of the wanton, willful and malicious character of
the conduct complained of herein punitive damages in an
amount to be fixed at trial;
(D) Ari award to plaintiffs Of the costs and disbursements
herein;

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Datedr

(E) An award of attorney's fees under 42 U.S.C. §1988;
(F) Such other and further relief as this Court may deem just
and properl

August 9. 2004
Brooklyn, New York

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